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                                                  APPENDIX 3

This Appendix identifies the Counterparty Claims that are the subject of Defendants’ motion to
dismiss or as to which Defendants oppose leave to amend and the Defendants1 that challenge ju-
risdiction as to each of those claims, in whole or in part.2

Action                                  Counterparty Claims                   Defendants Challenging Juris-
                                                                              diction
Federal Deposit Insurance               Count I: Breach of Contract
Corporation as Receiver for             with Amcore
Amcore Bank, N.A., et al. v.
Bank of America Corporation,            Count II: Breach of Con-              The Royal Bank of Scotland plc
et al. 3                                tracts with AmTrust

No. 14-cv-01757, Dkt. No.               Count III: Breach of Con-
253 Ex. A                               tracts with Corus

Proposed Second Amended                 Count IV: Breach of Con-              Barclays Bank plc
Complaint                               tract with IndyMac                    Credit Suisse International
                                                                              Deutsche Bank AG
                                                                              J.P. Morgan Dublin plc
                                                                              J.P. Morgan Markets Limited
                                                                              Royal Bank of Canada
                                                                              The Royal Bank of Scotland plc
                                                                              UBS AG
                                        Count V: Breach of Con-
                                        tract with Integra

                                        Count VI: Breach of Con-
                                        tract with Silverton




1
  As to certain claims, it is unclear whether Plaintiffs are asserting that claim against a particular Defendant. Out of
an abundance of caution, certain Defendants have joined this Appendix. By joining this Appendix, Defendants do
not concede that a particular claim is being asserted against them and those Defendants who have not joined reserve
the right to supplement this Appendix.
2
  To the extent helpful to the Court, Defendants are prepared to provide additional specificity regarding the claims
they challenge in part.
3
  Certain Defendants not amenable to general jurisdiction in New York, which are named in FDIC’s Counterparty
Claims (in both FDIC’s original action No. 14-cv-01757, Dkt. No. 253 Ex. A, and in the Doral action 18-cv-01540,
Dkt. No. 1), challenge personal jurisdiction on the grounds that FDIC has failed to adequately allege any swap-
specific information. Defs.’ PJ Br. at 29 n.57. Similarly, certain Defendants not amenable to general jurisdiction in
New York, which are named in FDIC’s Counterparty Claims, where FDIC alleges multiple ISDA Master Agree-
ments challenge personal jurisdiction on the additional grounds that FDIC’s engages in impermissible group plead-
ing with respect to its generalized allegation that it transacted with Defendants during the relevant time period. Id.

                                                           1
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Action                                 Counterparty Claims                 Defendants Challenging Juris-
                                                                           diction
                                       Count VII: Breach of Con-           Credit Suisse International
                                       tract with Superior

                                       Count VIII: Breach of Con-          Merrill Lynch International Bank
                                       tracts with UCB                     Ltd.
                                                                           Barclays Bank plc
                                                                           The Hongkong and Shanghai
                                                                           Banking Corporation Ltd.
                                                                           UBS AG
                                       Count IX: Breach of Con-            Merrill Lynch International Bank
                                       tracts with WaMu                    Ltd.
                                                                           Barclays Bank plc
                                                                           Credit Suisse International
                                                                           Royal Bank of Canada
                                                                           UBS AG
                                                                           Portigon AG (f/k/a WestLB AG)
                                       Count X: Breach of Con-             Credit Suisse International
                                       tracts with Westernbank
                                       Count XI: Breach of the             Barclays Bank plc
                                       Implied Covenant of Good            Credit Suisse International
                                       Faith and Fair Dealing              Deutsche Bank AG
                                                                           The Hongkong and Shanghai
                                                                           Bank Corporation Ltd.
                                                                           J.P. Morgan Dublin plc
                                                                           J.P. Morgan Markets Limited
                                                                           Merrill Lynch International Bank
                                                                           Ltd.
                                                                           Royal Bank of Canada
                                                                           The Royal Bank of Scotland plc
                                                                           UBS AG
                                                                           Portigon AG (f/k/a WestLB AG)
                                       Count XII: Unjust Enrich-           Barclays Bank plc
                                       ment/Restitution                    Credit Suisse International
                                                                           Deutsche Bank AG
                                                                           The Hongkong and Shanghai
                                                                           Bank Corporation Ltd.
                                                                           J.P. Morgan Dublin plc
                                                                           J.P. Morgan Markets Limited
                                                                           Merrill Lynch International Bank
                                                                           Ltd. 4

4
  In LIBOR IV, this Court dismissed counterparty swap claims against foreign defendants brought in jurisdictions
other than “where a plaintiff was located when it entered into the swap agreement” (except in certain circumstances
not relevant here). LIBOR IV, 2015 WL 6243526, at *37. Because Washington Mutual Bank was located in Neva-
                                                        2
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Action                                Counterparty Claims                 Defendants Challenging Juris-
                                                                          diction
                                                                          Portigon AG (f/k/a WestLB AG)
                                                                          Royal Bank of Canada
                                                                          The Royal Bank of Scotland plc
                                                                          UBS AG
                                      Count XIII: Fraud Based on          Barclays Bank plc
                                      Alleged Misrepresentations          Credit Suisse International
                                      or Omissions By Contract-           Deutsche Bank AG
                                      ing Defendants                      The Hongkong and Shanghai
                                                                          Banking Corporation Ltd.
                                                                          J.P. Morgan Dublin plc
                                                                          J.P. Morgan Markets Limited
                                                                          Merrill Lynch International Bank
                                                                          Ltd.
                                                                          Portigon AG (f/k/a WestLB AG)
                                                                          Royal Bank of Canada
                                                                          The Royal Bank of Scotland plc
                                                                          UBS AG
                                      Count XVI: Negligent Mis-           Barclays Bank plc
                                      representation Based on Al-         Credit Suisse International
                                      leged Misrepresentations or         Deutsche Bank AG
                                      Omissions By Contracting            The Hongkong and Shanghai
                                      Defendants                          Banking Corporation Ltd.
                                                                          J.P. Morgan Dublin plc
                                                                          J.P. Morgan Markets Limited
                                                                          Merrill Lynch International Bank
                                                                          Ltd.
                                                                          Portigon AG (f/k/a WestLB AG)
                                                                          Royal Bank of Canada
                                                                          The Royal Bank of Scotland plc
                                                                          UBS AG
Federal Deposit Insurance             Count I: Breach of the Im-          Credit Suisse International
Corporation as Receiver for           plied Covenant of Good
Doral Bank v. Bank of Ameri-          Faith and Fair Dealing

da, not New York, FDIC PSAC ¶ 15(ll), and Merrill Lynch International Bank Ltd. is based in Ireland, id. ¶ 18, the
FDIC’s counterparty swap claims brought in New York against Merrill Lynch International Bank Ltd. were dis-
missed for lack of personal jurisdiction. See LIBOR IV, 2015 WL 6243526, at *37; see also id. at *31 n.51 (similar
analysis for claims by the NCUA). The parties’ chart submitted after LIBOR IV, ECF No. 1303, mistakenly stated
that this Court had sustained the FDIC’s unjust enrichment claims on behalf of Washington Mutual Bank against
Merrill Lynch International Bank Ltd.
Moreover, the FDIC’s claims on behalf of Washington Mutual Bank against Merrill Lynch International Bank Ltd.
are based on a transaction between Washington Mutual Inc. and Merrill Lynch International, which is a separate
legal entity. FDIC PSAC Ex. 65. Because Merrill Lynch International Bank Ltd. was not involved in the alleged
transaction (and it does not appear Washington Mutual Bank was either), claims on behalf of Washington Mutual
Bank fail against Merrill Lynch International Bank Ltd. both for lack of personal jurisdiction and on the merits.
                                                        3
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Action                         Counterparty Claims           Defendants Challenging Juris-
                                                             diction
ca, N.A., et al.               Count II: Unjust Enrich-      Credit Suisse International
                               ment/Restitution
18-cv-01540, Dkt. No. 1        Count III: Fraud Based on     Credit Suisse International
                               Alleged Misrepresentations
Complaint                      or Omissions By Contract-
                               ing Defendants
                               Count VI: Negligent Mis-      Credit Suisse International
                               representation Based on Al-
                               leged Misrepresentations or
                               Omissions By Contracting
                               Defendants
Principal Financial Group,     Count III: Breach of          Bank of America Corporation
Inc. v. Bank of America Cor-   Contract and Covenant of      Barclays Capital Inc.
poration, et al.               Good Faith and Fair           Citigroup Inc.
                               Dealing for                   Citigroup Global Markets Inc.
13-cv-6014, Dkt. No. 255 Ex.   Interest Rate Swaps           Credit Suisse AG
A                                                            Credit Suisse Group AG
                                                             Credit Suisse Securities (USA)
Proposed Second Amended                                      LLC
Complaint                                                    Credit Suisse International
                                                             Deutsche Bank AG
                                                             Deutsche Bank Securities Inc.
                                                             JPMorgan Chase & Co.
                                                             The Royal Bank of Scotland
                                                             Group plc
                                                             UBS AG
                                                             UBS Securities LLC
                               Count IV: Breach of           Bank of America Corporation
                               Contract and Covenant of      Bank of America, N.A.
                               Good Faith and Fair           Merrill Lynch Capital Services,
                               Dealing for                   Inc.
                               Variable-Rate Bonds and       Barclay Bank PLC
                               Asset-Backed Securities       Barclays Capital Inc.
                                                             Citigroup Inc.
                                                             Citibank, N.A.
                                                             Citigroup Global Markets Inc.
                                                             Credit Suisse AG
                                                             Credit Suisse Group AG
                                                             Credit Suisse Securities (USA)
                                                             LLC
                                                             Credit Suisse International
                                                             Deutsche Bank AG
                                                             Deutsche Bank Securities Inc.
                                                             Chase Bank USA, N.A.
                                             4
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Action                    Counterparty Claims          Defendants Challenging Juris-
                                                       diction
                                                       JPMorgan Chase & Co.
                                                       JPMorgan Chase Bank, N.A.
                                                       J.P. Morgan Dublin plc
                                                       The Royal Bank of Scotland
                                                       Group plc
                                                       The Royal Bank of Scotland plc
                                                       UBS AG
                                                       UBS Securities LLC
                          Count V: Fraud Based on      Bank of America Corporation
                          Alleged Misrepresentations   Bank of America, N.A.
                          or Omissions By Contract-    Merrill Lynch Capital Services,
                          ing Defendants               Inc.
                                                       Barclay Bank PLC
                                                       Barclays Capital Inc.
                                                       Citigroup Inc.
                                                       Citigroup Global Markets Inc.
                                                       Credit Suisse AG
                                                       Credit Suisse Group AG
                                                       Credit Suisse Securities (USA)
                                                       LLC
                                                       Credit Suisse International
                                                       Deutsche Bank AG
                                                       Deutsche Bank Securities Inc.
                                                       Chase Bank USA, N.A.
                                                       JPMorgan Chase & Co.
                                                       JPMorgan Chase Bank, N.A.
                                                       J.P. Morgan Dublin plc
                                                       Royal Bank of Canada
                                                       The Royal Bank of Scotland
                                                       Group plc
                                                       The Royal Bank of Scotland plc
                                                       UBS AG
                                                       UBS Securities LLC
                          Count VII: Negligent         Bank of America Corporation
                          Misrepresentation            Bank of America, N.A.
                                                       Merrill Lynch Capital Services,
                                                       Inc.
                                                       Barclay Bank PLC
                                                       Barclays Capital Inc.
                                                       Citigroup Inc.
                                                       Citigroup Global Markets Inc.
                                                       Credit Suisse AG
                                                       Credit Suisse Group AG
                                                       Credit Suisse Securities (USA)
                                        5
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Action                    Counterparty Claims    Defendants Challenging Juris-
                                                 diction
                                                 LLC
                                                 Credit Suisse International
                                                 Deutsche Bank AG
                                                 Deutsche Bank Securities Inc.
                                                 Chase Bank USA, N.A.
                                                 JPMorgan Chase & Co.
                                                 JPMorgan Chase Bank, N.A.
                                                 J.P. Morgan Dublin plc
                                                 Royal Bank of Canada
                                                 The Royal Bank of Scotland
                                                 Group plc
                                                 The Royal Bank of Scotland plc
                                                 UBS AG
                                                 UBS Securities LLC
                          Count VIII: Unjust     Bank of America Corporation
                          Enrichment             Bank of America, N.A.
                                                 Merrill Lynch Capital Services,
                                                 Inc.
                                                 Barclay Bank PLC
                                                 Barclays Capital Inc.
                                                 Citigroup Inc.
                                                 Citibank, N.A.
                                                 Citigroup Global Markets Inc.
                                                 Credit Suisse AG
                                                 Credit Suisse Group AG
                                                 Credit Suisse Securities (USA)
                                                 LLC
                                                 Credit Suisse International
                                                 Deutsche Bank AG
                                                 Deutsche Bank Securities Inc.
                                                 Chase Bank USA, N.A.
                                                 JPMorgan Chase & Co.
                                                 JPMorgan Chase Bank, N.A.
                                                 J.P. Morgan Dublin plc
                                                 Royal Bank of Canada
                                                 The Royal Bank of Scotland
                                                 Group plc
                                                 The Royal Bank of Scotland plc
                                                 UBS AG
                                                 UBS Securities LLC




                                        6
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Action                                 Counterparty Claims                 Defendants Challenging Juris-
                                                                           diction
Principal Funds, Inc. v. Bank          Count III: Breach of                Bank of America Corporation
of America Corporation, et             Contract and Covenant of            Barclays Capital Inc.
al.                                    Good Faith and Fair                 Citigroup Inc.
                                       Dealing for                         Citigroup Global Markets Inc.
13-cv-6013, Dkt. No. 247 Ex.           Interest Rate Swaps                 Credit Suisse AG
A                                                                          Credit Suisse Group AG
                                                                           Credit Suisse Securities (USA)
Proposed Second Amended                                                    LLC
Complaint                                                                  Deutsche Bank AG
                                                                           Deutsche Bank Securities Inc.
                                                                           JPMorgan Chase & Co.
                                                                           Royal Bank of Canada5
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           UBS AG
                                                                           UBS Securities LLC
                                       Count IV: Breach of                 Bank of America Corporation
                                       Contract and Covenant of            Bank of America, N.A.
                                       Good Faith and Fair                 Barclay Bank PLC
                                       Dealing for                         Barclays Capital Inc.
                                       Variable-Rate Bonds and             Citigroup Inc.
                                       Asset-Backed Securities             Citibank, N.A.
                                                                           Citigroup Global Markets Inc.
                                                                           Credit Suisse AG
                                                                           Credit Suisse Group AG
                                                                           Credit Suisse Securities (USA)
                                                                           LLC
                                                                           Deutsche Bank AG
                                                                           Deutsche Bank Securities Inc.
                                                                           JPMorgan Chase & Co.
                                                                           JPMorgan Chase Bank, N.A.
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           The Royal Bank of Scotland plc
                                                                           UBS AG
                                                                           UBS Securities LLC
                                       Count V: Fraud Based on             Bank of America Corporation
                                       Alleged Misrepresentations          Bank of America, N.A.

5
  Although Principal Funds’ proposed second amended complaint purports to assert Counterparty Claims against
RBC and lists RBC among the “Counterparty Defendants,” see Principal Financial PSAC ¶¶ 337 and 369, it fails to
allege any swap transaction between RBC and any of the Principal Fund Plaintiffs, see id. ¶ 13 (listing ISDA agree-
ments with other defendants but not with RBC); id. ¶ 222 (same). Because Principal Funds Plaintiffs have not al-
leged a swap with RBC, they have no Counterparty Claims upon which to base personal jurisdiction.

                                                        7
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Action                    Counterparty Claims         Defendants Challenging Juris-
                                                      diction
                          or Omissions By Contract-   Barclay Bank PLC
                          ing Defendants              Barclays Capital Inc.
                                                      Citigroup Inc.
                                                      Citibank, N.A.
                                                      Citigroup Global Markets Inc.
                                                      Credit Suisse AG
                                                      Credit Suisse Group AG
                                                      Credit Suisse Securities (USA)
                                                      LLC
                                                      Deutsche Bank AG
                                                      Deutsche Bank Securities Inc.
                                                      JPMorgan Chase & Co.
                                                      JPMorgan Chase Bank, N.A.
                                                      Royal Bank of Canada
                                                      The Royal Bank of Scotland
                                                      Group plc
                                                      The Royal Bank of Scotland plc
                                                      UBS AG
                                                      UBS Securities LLC
                          Count VII: Negligent        Bank of America Corporation
                          Misrepresentation           Bank of America, N.A.
                                                      Barclay Bank PLC
                                                      Barclays Capital Inc.
                                                      Citigroup Inc.
                                                      Citibank, N.A.
                                                      Citigroup Global Markets Inc.
                                                      Credit Suisse AG
                                                      Credit Suisse Group AG
                                                      Credit Suisse Securities (USA)
                                                      LLC
                                                      Deutsche Bank AG
                                                      Deutsche Bank Securities Inc.
                                                      JPMorgan Chase & Co.
                                                      JPMorgan Chase Bank, N.A.
                                                      Royal Bank of Canada
                                                      The Royal Bank of Scotland
                                                      Group plc
                                                      The Royal Bank of Scotland plc
                                                      UBS AG
                                                      UBS Securities LLC
                          Count VIII: Unjust          Bank of America Corporation
                          Enrichment                  Bank of America, N.A.
                                                      Barclay Bank PLC
                                                      Barclays Capital Inc.
                                        8
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Action                               Counterparty Claims                Defendants Challenging Juris-
                                                                        diction
                                                                        Citigroup Inc.
                                                                        Citibank, N.A.
                                                                        Citigroup Global Markets Inc.
                                                                        Credit Suisse AG
                                                                        Credit Suisse Group AG
                                                                        Credit Suisse Securities (USA)
                                                                        LLC
                                                                        Deutsche Bank AG
                                                                        Deutsche Bank Securities Inc.
                                                                        JPMorgan Chase & Co.
                                                                        JPMorgan Chase Bank, N.A.
                                                                        Royal Bank of Canada
                                                                        The Royal Bank of Scotland
                                                                        Group plc
                                                                        The Royal Bank of Scotland plc
                                                                        UBS AG
                                                                        UBS Securities LLC
Federal Home Loan Mortgage Count II: Breach of Con-                     Bank of America Corporation
Corporation v. Bank of Amer- tract
ica Corp., et al.
                             Count III: Breach of Con-
13-cv-03952, Dkt. No. 295    tract
Ex. A
                             Count IV: Breach of Con-
Proposed Third Amended       tract
Complaint
                             Count V: Breach of Con-                    Credit Suisse AG
                             tract                                      Credit Suisse International
                             Count VI: Breach of Con-
                             tract
                             Count VII: Breach of Con-                  HSBC Bank plc6
                             tract
                             Count VIII: Breach of Con-                 The Royal Bank of Scotland
                             tract                                      Group plc
                             Count IX: Breach of Con-
                             tract
                             Count X: Fraud Based on                    Bank of America Corporation
                             Alleged Misrepresentations                 Bank of America, N.A.


6
  Freddie Mac’s breach of contract claim is based on an alleged breach of an ISDA Master Agreement with defend-
ant HSBC Bank USA, N.A. Freddie PTAC ¶ 520 & Exhibit 36. Freddie Mac nevertheless alleges in Count VIII
that “HSBC” – a defined term referencing defendant HSBC Bank plc, see id. ¶ 114 – breached the ISDA Master
Agreement. Id. ¶¶ 524-25.
                                                      9
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Action                                 Counterparty Claims                 Defendants Challenging Juris-
                                                                           diction
                                       or Omissions By Contract-           Barclay Bank PLC
                                       ing Defendants7                     Barclays Capital Inc.
                                                                           Citigroup Inc.
                                                                           Citibank, N.A.
                                                                           Credit Suisse AG
                                                                           Credit Suisse International
                                                                           Deutsche Bank AG
                                                                           HSBC Bank plc
                                                                           The Norinchukin Bank
                                                                           Royal Bank of Canada
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           The Royal Bank of Scotland plc
                                                                           The Bank of Tokyo-Mitsubishi
                                                                           UFJ, Ltd.
                                                                           UBS AG
The Charles Schwab Corpora- Count I: Violation of                          Bank of America Corporation
tion et al. v. Bank of America Section 10(b) of the                        Bank of America, N.A.
Corporation et al.             Exchange Act, 15 U.S.C. §                   Barclay Bank PLC
                               78j(b), and SEC Rule 10b-5                  Citigroup Inc.
11-md-2262, Dkt. No. 2578      Promulgated Thereunder,                     Citibank, N.A.
                               17 C.F.R. § 240.10b-5                       Coöperatieve Rabobank U.A.
(Individual Case No. 13-cv-    Based on Alleged Omis-                      Credit Suisse AG
7005)                          sions by Floating Rate Sell-                Credit Suisse Group AG
                               er Defendants or Floating                   Deutsche Bank AG
Second Amended Complaint       Rate Issuer Defendants                      JPMorgan Chase & Co.
                                                                           JPMorgan Chase Bank, N.A.
                                                                           Royal Bank of Canada
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           The Royal Bank of Scotland plc
                                                                           UBS AG
                                       Count III: Fraud, Deceit,           Bank of America Corporation
                                       and Concealment Based on            Bank of America, N.A.
                                       Alleged Omissions by                Barclay Bank PLC
                                       Floating Rate Seller De-            Citigroup Inc.
                                       fendants or Floating Rate           Citibank, N.A.
                                       Issuer Defendants                   Coöperatieve Rabobank U.A.
                                                                           Credit Suisse AG

7
 Freddie Mac asserts its claim for fraud by misrepresentations or omissions against the “Contracting Bank Defend-
ants” (also referred to as the “Contract Defendants”). This term is not specifically defined. To the extent Freddie
Mac purports to include any Defendants other than those named in Counts II through IX of the Proposed Third
Amended Complaint, such Defendants reserve their personal jurisdiction defenses.

                                                        10
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Action                                 Counterparty Claims                  Defendants Challenging Juris-
                                                                            diction
                                                                            Credit Suisse Group AG
                                                                            Deutsche Bank AG
                                                                            JPMorgan Chase & Co.
                                                                            JPMorgan Chase Bank, N.A.
                                                                            Royal Bank of Canada
                                                                            The Royal Bank of Scotland
                                                                            Group plc
                                                                            The Royal Bank of Scotland plc
                                                                            UBS AG
                                       Count V: Breach of the               Bank of America Corporation
                                       Implied Covenant of Good             Bank of America, N.A.
                                       Faith and Fair Dealing               Barclay Bank PLC
                                                                            Citigroup Inc.
                                                                            Coöperatieve Rabobank U.A.
                                                                            Credit Suisse AG
                                                                            Deutsche Bank AG
                                                                            JPMorgan Chase & Co.
                                                                            JPMorgan Chase Bank, N.A.
                                                                            Royal Bank of Canada
                                                                            The Royal Bank of Scotland
                                                                            Group plc
                                                                            The Royal Bank of Scotland plc
                                                                            UBS AG
                                       Count VII: Unjust                    Bank of America Corporation
                                       Enrichment                           Bank of America, N.A.
                                                                            Barclay Bank PLC
                                                                            Citigroup Inc.
                                                                            Citibank, N.A.
                                                                            Coöperatieve Rabobank U.A.
                                                                            Credit Suisse AG
                                                                            Deutsche Bank AG
                                                                            HSBC Bank plc
                                                                            JPMorgan Chase & Co.
                                                                            JPMorgan Chase Bank, N.A.
                                                                            Bank of Scotland plc8
                                                                            Lloyds Bank plc
                                                                            The Norinchukin Bank
                                                                            The Royal Bank of Scotland
                                                                            Group plc

8
  The Schwab Plaintiffs assert unjust enrichment claims against Bank of Scotland (“BoS”) and Lloyds Bank as
“Panel Bank Fixed-Rate Issuer Defendants” (SAC ¶¶ 176, 515), but do not allege that it provides a basis for exercis-
ing jurisdiction over BoS and Lloyds Bank (see id. ¶¶ 241-52). BoS and Lloyds Bank join this Appendix with re-
spect to the unjust enrichment claims alleged by the Schwab Plaintiffs out of an abundance of caution.
                                                        11
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Action                                 Counterparty Claims                  Defendants Challenging Juris-
                                                                            diction
                                                                            The Royal Bank of Scotland plc
                                                                            Royal Bank of Canada
                                                                            The Bank of Tokyo-Mitsubishi
                                                                            UFJ, Ltd. 9
                                                                            UBS AG
National Credit Union Admin-           Count III: Breach of Con-            Bank of America Corporation
istration Board v. Credit              tract and Implied Covenant           Bank of America, N.A.
Suisse Group AG, et al.                of Good Faith and Fair               JPMorgan Chase & Co.
                                       Dealing with Members                 JPMorgan Chase Bank, N.A.
13-cv-7394, Dkt. No. 245               United

Second Amended Complaint               Count IV: Breach of Con-             Citigroup Inc.
                                       tract with Southwest                 Citibank, N.A.
                                                                            Citigroup Financial Products Inc.
                                                                            Citi Swapco Inc.

                                       Count V: Breach of Con-              Bank of America Corporation
                                       tract with WesCorp                   Bank of America, N.A.
                                                                            Barclays Bank PLC
                                                                            Barclays Capital Inc.
                                                                            Citigroup Inc.
                                                                            Citibank, N.A.
                                                                            Citigroup Financial Products Inc.
                                                                            Citi Swapco Inc.
                                                                            Deutsche Bank AG
                                                                            HSBC Bank USA, N.A.
                                                                            HSBC Holdings plc10
                                                                            JPMorgan Chase & Co.
                                                                            JPMorgan Chase Bank, N.A.
                                                                            The Royal Bank of Scotland
                                                                            Group plc
                                                                            UBS AG


9
  The Schwab Plaintiffs assert an unjust enrichment claim against BTMU as a “Panel Bank Fixed-Rate Issuer De-
fendant” (SAC ¶¶ 176, 515), but do not allege that it provides a basis for exercising jurisdiction over BTMU (see id.
¶¶ 241-52). BTMU joins this Appendix with respect to the unjust enrichment claim alleged by the Schwab Plaintiffs
out of an abundance of caution.
10
   NCUA alleges that WesCorp entered into pay-fixed swaps under an ISDA Master Agreement with unspecified
“Defendant HSBC.” NCUA PSAC ¶ 283. However, the ISDA Master Agreement attached as Exhibit 7 to the
PSAC plainly states that WesCorp’s counterparty was defendant HSBC Bank USA, N.A. NCUA accordingly fails
to allege a contractual relationship with HSBC Holdings plc. Similarly, NCUA alleges that WesCorp and U.S Cen-
tral entered into swaps under ISDA Master Agreements with “Defendant RBS”. Id. ¶ 285, 303. However, the ISDA
Master Agreements attached as Exhibits 9 and 17 to the PSAC are not with defendant The Royal Bank of Scotland
Group plc, with which NCUA accordingly has failed to allege a contractual relationship.
                                                        12
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Action                                 Counterparty Claims                 Defendants Challenging Juris-
                                                                           diction
                                       Count VI: Breach of Con-            Bank of America Corporation
                                       tract with U.S. Central             Barclays Capital Inc.
                                                                           JPMorgan Chase & Co.
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           UBS AG
                                       Count IX: Unjust Enrich-            Bank of America Corporation
                                       ment11                              Bank of America, N.A.
                                                                           Barclays Bank PLC
                                                                           Barclays Capital Inc.
                                                                           Citigroup Inc.
                                                                           Citibank, N.A.
                                                                           Citigroup Financial Products Inc.
                                                                           Citi Swapco Inc.
                                                                           Coöperatieve Rabobank U.A.
                                                                           Credit Suisse Group AG
                                                                           Deutsche Bank AG
                                                                           HSBC Bank USA, N.A.
                                                                           HSBC Holdings plc
                                                                           JPMorgan Chase & Co.
                                                                           JPMorgan Chase Bank, N.A.
                                                                           HBOS plc
                                                                           Lloyds Banking Group plc
                                                                           The Royal Bank of Scotland
                                                                           Group plc
                                                                           UBS AG




11
   In the heading of its Ninth Cause of Action, NCUA states that it asserts unjust enrichment claims against “ALL
DEFENDANTS” but subsequently clarifies that the claims are asserted against those Defendants with whom it al-
leges a contractual relationship (Bank of America, Barclays, Citigroup, Deutsche Bank, HSBC, JPMorgan, Ra-
bobank, RBS, and UBS). NCUA PSAC ¶¶ 324-25. To the extent the claim is asserted against any other Defendant,
NCUA has failed to allege a contractual relationship with that Defendant and each of these Defendants challenge the
claim on jurisdictional grounds.
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